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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                 )
                                                     Criminal No. (MJD)
                                          )
                      Plaintiff,          )
                                                     MEMORANDUM IN SUPPORT OF
       v.                                 )
                                                     MOTION TO RELEASE FROM
                                          )
                                                     CUSTODY AND REVIEW
                                          )
                                                     DETENTION ORDER
ABDULLAHI YUSUF,                          )
                                          )
                      Defendant.          )

       Abdullahi Yusuf, by and through his undersigned attorneys, hereby submits this

memorandum and attachments in support of his motion to review the Court’s December

4, 2014 detention Order.

                                     Procedural History

       On November 24, 2014, Abdullahi Yusuf was charged by complaint with

conspiracy to provide material support to a designated foreign terrorist organization under

to 18 U.S.C. 2339B. The offense carries a maximum penalty of 15 years. The compliant

alleges that soon after Mr. Yusuf turned eighteen-years old, he attempted fly to Syria to

join a designated terrorist organization. He was confronted by FBI agents on May 28,

2014 at the Minneapolis airport. After the offense conduct, Mr. Yusuf remained under

investigation and received a “target” letter from the United States Attorney Office. On

November 24, 2014, he was charged by compliant and arrested in the metro area.

       On November 26, 2014, after the government moved for detention, Magistrate

Judge Janie S. Mayeron heard testimony from S/A John Thomas and Mr. Yusuf in
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relation to probable cause and bail factors. Probable cause was found and Magistrate

Mayeron determined that there were conditions to reasonably assure the appearance of the

defendant and the safety of the community. (Docket #16). An appearance bond was

signed by Mr. Yusuf on November 26, 2014 (Docket #18). The government appealed the

court’s order. (Docket #11). Both sides filed memorandums. (Docket #24 and #27).

Between November 26 to December 3, 2014, Mr. Yusuf complied with his pretrial release

conditions. On December 3, 2014, this Court heard the government’s appeal. The Court

heard testimony from Mr. Yusuf’s father, Sadiik Yusuf. After argument, the Court

revoked the previous release order and ordered Mr. Yusuf into custody. However, the

Court stated the following:

       If there is a plan that can be put in place that can have the Somali
       community elders and other leaders assist the Court in the supervision of
       this young man, I will take a look at releasing him. But at this point the
       Somali community has to step forward to help the family and the Court
       monitor his whereabouts and his actions.


       Since the hearing, counsel has met with Somali community members and have

devised a plan to assure the safety of the community and the appearance of Mr. Yusuf in

future court appearances.



                                   The Court’s Concerns

A.     Somali Community Input

       Twice in December, counsel for Mr. Yusuf met with community elders and
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leaders. Each expressed their concern about young members of their community traveling

to Syria and Somalia. Some discussed their on-going efforts with the U.S. Attorney to

combat the problem. Many of the elders know Mr. Yusuf’s family. Each emphasized they

would do whatever they could to help the Court and Mr. Yusuf. Each agreed to connect

with Mr. Yusuf and his family. Each agreed to report any suspicious activity. To put a

more concrete plan together, counsel reached out to Heartland Democracy’s Executive

Director, Mary McKinley.

       Heartland Democracy is a nonprofit organization with a board of directors and an

advisory board. One of the organization’s goals is to reach out to youth and get them

more involved in the community or civic affairs. The purpose is to get the youth to

participate socially, economically, and civically with their communities. More

information about the organization can be found in the attached exhibit and at

www.HeartlandDemocracy.org.

       Ms. McKinley met with leaders and the elders of the Somali community. Through

an open dialogue, the parties came up with a concrete plan that will not only help Mr.

Yusuf, but other young people in the Somali Community. Ms. McKinley will be present

in court on Monday, January 12, 2015 to answer the Court’s questions.

B.     Release to Mr. Yusuf’s parents

       At the hearing, the Court expressed concern that Mr. Yusuf lied to his parents and

obtained a passport and airline ticket while under his parent’s custody. Since the

December 3, 2014 court hearing, counsel has met with Mr. Yusuf’s family numerous
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times. Mr. Yusuf has met with his parents to discuss his case. The parents are well aware

of the very serious nature of this case. Because of the severe consequences that may result

in this case, they are very dedicated to diligently watch over Mr. Yusuf. His parents want

him to be in the home and are willing to enforce any court conditions. Since the target

letter arrived at their home in the summer of 2014, they have made sure Mr. Yusuf is

working or going to school. They have monitored him much more closely than the Spring

of 2014. For example, the parents randomly call Mr. Yusuf to make sure he is at work or

at school. Even when he was at home, they checked to make sure he was where he was

suppose to be. Finally, they made sure he appeared when he was subpoenaed to the Grand

Jury and ordered to appear in court.

C.     Passport and Travel

       In addition, the Court expressed concern that Mr. Yusuf may attempt to obtain a

new passport and travel. It is important to note that between the end of May through

November 26, 2014, Mr. Yusuf had a passport. At anytime, he could have used that

passport to travel. He did not. Even though he knew he could be taken into custody on

December 3, 2014, he did not attempt to flee, rather, he showed up to Court with his

parents. Currently, his passport is with the Probation Office.

D.     Electronic Location Monitoring

       Finally, the Court expressed concern that the electronic location monitoring cannot

reasonably assure the defendant’s appearance since such technology is not infallible and

the G.P.S. bracelet can be cut off. The Court is correct that electronic location monitoring
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is not infallible. However, it is a measure that can assist in Mr. Yusuf’s supervision.

G.P.S. is used in many cases because it does help probation officers supervise clients. For

example, two defendants in United States v. Isse, et al (09-50 MJD/FLN), were charged

with traveling to Somalia, attending a terrorist camp and returning to the United States.

Defendants Isse and Ahmed were released pending trial rather than detained. Each

defendant complied with their pretrial conditions and did not flee. The G.P.S. units placed

on each defendant assisted in their pretrial supervision.

       The G.P.S. unit that Mr. Yusuf was wearing for eight days randomly said “Call

Officer now.” The voice continued to speak until Mr. Yusuf called the supervising

officer. Mr. Yusuf wasin Philosophy class when his G.P.S. unit ordered him to call the

officer. He ran home two miles to call his probation officer because the FBI took his

phone at his initial appearance. Although, Mr. Yusuf was on pretrial release for less than

10 days, the G.P.S. monitoring did assist the supervising agent and Mr. Yusuf did not

attempt to cut the bracelet.

E.     Additional Positive Factors

       As highlighted in the first hearing and again before this Court in the second

hearing, there are many factors that weigh in Mr. Yusuf’s favor for release.

•      After receiving a target letter from the United States Attorney’s Office, Mr. Yusuf
       did not attempt to flee.

•      Mr. Yusuf was given a subpoena to come to a United States Grand Jury on June
       19, 2014. He showed up.

•      Mr. Yusuf began working at the Best Buy on September 20, 2014.
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•      Mr. Yusuf enrolled in classes at Inver Hills Community College in August 2014
       and was attending school when he was arrested on November 24, 2014.

•      During his pretrial release period from November 26 through December 3, 2014,
       Mr. Yusuf did not attempt to flee or obtain a new passport. Rather, he abided by
       the conditions Magistrate Judge Mayeron set forth in her order and showed up for
       an appearance before this Court.


F.     New Factors

       Counsel has reached out to Mr. Yusuf’s Community College. He can begin classes

later this month. Mr. Yusuf may continue to reside with his parents at their home located

in Inver Grove Heights. The parents home and the school (Inver Hills Community

College) are about two miles away from each other. The family has no issue with

computer monitoring software being placed on the home computer. The attached

proposal by Ms. McKinley allows the Somali community to be involved and assure that

no more young people are targeted to travel.

                                      CONCLUSION

       Respectfully, Mr. Yusuf requests that the Court impose the release terms and

conditions that were previously imposed on him on November 26, 2014.
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Dated: January 9, 2015             Respectfully submitted,

                                   /s Manny K. Atwal

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